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     Attorney for Defendant
5
     ROBERT KENNEDY
6
7
8                      IN THE UNITED STATES DISTRICT COURT
9
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11                              SACRAMENTO DIVISION

12
     UNITED STATES OF AMERICA,                No. 2:12CR00198-MCE-31
13
                 Plaintiff,
14                                            STIPULATION AND ORDER
                                              MODIFYING TERMS OF PRETRIAL
15          v.
                                              RELEASE
16   ROBERT KENNEDY,
17
                Defendant.
18   _________________________________/
19
20       THE PARTIES HEREBY STIPULATE AND AGREE to move the Court for
21   an Order to Modify the terms of Mr. Kennedy’s pre-trial release to
22
     include the following terms:
23
24
         You shall participate in a program of medical or psychiatric
25
26       treatment, including treatment for drug or alcohol dependency,

27       as approved by the pretrial services officer.          You shall pay
28
         all or part of the costs of the counseling services based upon


                                      1
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1        your ability to pay, as determined by the pretrial services

2        officer.
3
     Dated: July 2, 2012
4
5
     /s/ James Clark
6    JAMES CLARK
     Attorney for Defendant
7    ROBERT KENNEDY
8
9    Dated: July 2, 2012
10
11   /s/ Michael D. Anderson
     Michael D. Anderson
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     Deputy United States Attorney
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          Case 2:12-cr-00198-MCE Document 245 Filed 07/05/12 Page 3 of 4


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10   Attorney for Defendant
     ROBERT KENNEDY
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12
                        IN THE UNITED STATES DISTRICT COURT
13
14                     FOR THE EASTERN DISTRICT OF CALIFORNIA

15                                SACRAMENTO DIVISION
16
17   UNITED STATES OF AMERICA,                  No. 2:12CR00198-MCE-31

18                 Plaintiff,
19                                              ORDER MODIFYING
     v.
                                                TERMS OF PRETRIAL RELEASE
20
     ROBERT KENNEDY
21
22               Defendant.
      _________________________________/
23   THE COURT HEREBY ORDERS that the terms of Robert Kennedy’s pre-
24
     trial release be modified to include the following terms:
25
           You shall participate in a program of medical or psychiatric
26
27         treatment, including treatment for drug or alcohol dependency,
28         as approved by the pretrial services officer.          You shall pay


                                        3
     Case 2:12-cr-00198-MCE Document 245 Filed 07/05/12 Page 4 of 4


1     all or part of the costs of the counseling services based upon

2     your ability to pay, as determined by the pretrial services
3
      officer.
4
      Date:     7/3/2012
5
6                                   _____________________________
                                    KENDALL J. NEWMAN
7                                   U. S. MAGISTRATE JUDGE
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